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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,


                      Plaintiff,                    Civil Action No. 1:17-cv-01426-RGA
               v.                                       JURY TRIAL DEMANDED
GIBSON INNOVATIONS USA, INC.,

                      Defendants.


            DISPLAY TECHNOLOGIES, LLC’S RESPONSE TO DEFENDANT
              GIBSON INNOVATIONS USA, INC.’S MOTION TO DISMISS

       Plaintiff Display Technologies, LLC (“Display”) respectfully responds to Defendant

Gibson Innovations USA, Inc.’s (“Gibson”) Motion to Dismiss [D.I. 12] and would show the

Court as follows:

       Plaintiff has filed a Motion for Leave to File Amended Complaint concurrently with this

response.   If granted, the amendment would moot the present motion since it would no longer

address the operative Complaint in this case.

       Accordingly, Display requests that the Court extend the deadline to respond to the present

motion until the motion for leave is resolved. Plaintiff further requests that if the motion for

leave to amend is denied, that plaintiff be given one week to respond to the pending motion to

dismiss.
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Dated: March 21, 2018

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